         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 1 of 21




KEN NAGY (I.S.B. No. 6176)
ATTORNEY AT LAW
P.O. Box 164
Lewiston, Idaho 83501
Telephone: (208) 301-0126
Facsimile: (509) 758-9820
E-mail: knagy@lewiston.com

ATTORNEY FOR PLAINTIFF


                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING          )
COUNCIL,                            )               CASE NO. CV 10-161
                                    )
      Plaintiff,                    )               VERIFIED COMPLAINT AND
                                    )               DEMAND FOR JURY TRIAL
vs.                                 )
                                    )
CMCFG, L.L.C.,                      )
                                    )
      Defendant.                    )
____________________________________)

       COMES NOW the Plaintiff Intermountain Fair Housing Council and for a cause of action

against the Defendant CMCFG, L.L.C., states and alleges as follows:

                                 NATURE OF THE ACTION

       1. This is an action brought by the above-named Plaintiff for declaratory judgment,

permanent injunctive relief and damages on the following bases:

               a. Fair Housing Act, 42 U.S.C. §3601 et seq. (hereinafter “FHA”), and in

       particular:

                      i. Discrimination in the sale or rental, or otherwise made unavailable, a

               dwelling because of “handicap”, 42 U.S.C. §3604;

VERIFIED COMPLAINT AND                      1
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      Attorney at Law
                                                                                      Lewiston, Idaho
          Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 2 of 21




                       ii. Discriminatory terms, conditions or privileges in the sale or rental of a

               dwelling because of “handicap”, 42 U.S.C. §3604;

                       iii. Making, printing or publishing a notice or statement with respect to

               the sale or rental of a dwelling that indicates a preference, limitation or

               discrimination based on “handicap”, 42 U.S.C. §3604; and

                       vi. Interference, coercion or intimidation, 42 U.S.C. §3617.

               b. Fair Housing Regulations, 24 C.F.R. §100 et seq.

                                  JURISDICTION AND VENUE

       2. This Court has jurisdiction over this action pursuant to 42 U.S.C. §3613 and

28 U.S.C. §§1331, 1332, 1337, 1343 and 2201. The amount in controversy exceeds $75,000

exclusive of interests and costs. Venue is proper in this District in that the claims alleged herein

arose in the City of Caldwell, County of Canyon, State of Idaho.

                                             PARTIES

       3. The Plaintiff Intermountain Fair Housing Council (hereinafter “the Plaintiff” or

“IFHC”) is a nonprofit organization organized under the laws of the State of Idaho with its

principal place of business at 350 North 9th Street, Suite M-100, Boise, Idaho 83702. Its mission

is to advance equal access to housing for all persons without regard to race, color, sex, religion,

national origin, familial status, or disability (the term “handicap”, as that term is used and

defined in the FHA, is used herein interchangeably with the term “disability”). The Plaintiff

serves housing consumers through, among other things, education on the fair housing laws and

assistance with complaints.

       4. The Defendant CMCFG, L.L.C. (hereinafter “the Defendant”), is a business

organized under the laws and doing business in the State of Idaho. Its principal place of business

VERIFIED COMPLAINT AND                        2
DEMAND FOR JURY TRIAL                                                                      KEN NAGY
                                                                                         Attorney at Law
                                                                                         Lewiston, Idaho
            Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 3 of 21




is 717 South River Street, Hailey, Idaho 83333. The Defendant operates Baycrest Village, a

multi-family apartment complex located at 2707 Wildwood Circle, Caldwell, Idaho 83605

(hereinafter “the Subject Property”), the real property that is the subject of this proceeding. The

Subject Property is a “dwelling”, as that term is defined at 42 U.S.C. §3602(b) and is therefore

subject to the requirements of the FHA.

                                   STANDING OF PLAINTIFF

       5. The Plaintiff has suffered damages as the result of the Defendant’s actions and

omissions, including the diversion of the Plaintiff’s past and future resources, lost economic

opportunity, and the frustration of the Plaintiff’s mission.

       6. The Plaintiff’s mission, as described above, has been frustrated by the Defendant’s

practices because the Defendant’s violations of the FHA communicate to housing consumers and

housing providers that discriminatory practices are permissible and that correctional remedies are

not available, thereby hampering Plaintiff’s efforts to educate the public on fair housing issues

and to advance equal access to housing.

       7. The Plaintiff’s mission has further been frustrated as the Defendant’s violations of the

FHA have reduced the pool of non-discriminatory rental housing available to tenants in the State

of Idaho.

       8. In order to counteract the frustration of the Plaintiff’s mission, the Plaintiff has had to

devote significant resources to identify, investigate, document and take action to correct the

Defendant’s violations of the FHA, including but not limited to the incursion of litigation

expenses. As a result, the Plaintiff has actually diverted resources from other fair housing-

related activities, including fair housing education and enforcement activities throughout the

State of Idaho and the surrounding region. Furthermore, the Plaintiff will necessarily incur

VERIFIED COMPLAINT AND                        3
DEMAND FOR JURY TRIAL                                                                      KEN NAGY
                                                                                         Attorney at Law
                                                                                         Lewiston, Idaho
          Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 4 of 21




additional expenses in the future to counteract the lingering effects of the Defendants’ violations

of the FHA through the monitoring of the Defendants’ activities, publication and advertising

costs, and the sponsorship of educational activities.

       9. As a direct result of the Defendant’s actions and omissions as described below, the

Plaintiff is an “aggrieved person”, as that term is defined by the FHA. 42 U.S.C. §3601(i). The

Plaintiff has suffered and continues to suffer significant and irreparable loss and injury, and has

sufficient standing to bring this action before this Court.

                                   GENERAL ALLEGATIONS

       10. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-9 above.

       11. In furtherance of the Plaintiff’s mission, as described above, it routinely conducts

tests of housing providers in order to monitor compliance with the requirements of the FHA. In

conducting such tests, an employee of the Plaintiff contacts a housing provider either by

telephone or in-person to inquire about a particular dwelling that is held out by the housing

provider as available to be rented or leased. The tester submits to the application process in

order to determine whether the housing provider handles the transaction in a manner which

complies with the requirements of the FHA.

       12. On or about the 16th day of March, 2009, the Plaintiff conducted a telephonic test of

the Defendant herein as the result of an advertisement for an available two-bedroom apartment

placed by the Defendant in the Idaho Press Tribune published on the 16th day of March, 2009.

       13. An employee of the Plaintiff, acting as a tester, telephoned (208) 465-3265, the

contact telephone number listed in the newspaper advertisement described.



VERIFIED COMPLAINT AND                        4
DEMAND FOR JURY TRIAL                                                                     KEN NAGY
                                                                                        Attorney at Law
                                                                                        Lewiston, Idaho
          Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 5 of 21




        14. The unidentified female individual that answered the telephone (hereinafter “Jane

Doe”) in response to the tester’s telephone call identified the business receiving the telephone

call as “Baycrest Village”. Jane Doe described the available apartment as located at “2709

Wildwood”, 900 square feet in size, and that the apartment complex contains a total of 30

apartments. Jane Doe described to the tester the terms of the lease for the Subject Property.

        15. When Jane Doe inquired of the tester who the dwelling would be for, the tester told

Jane Doe that it would be for herself and her service animal, which is prescribed by her doctor

for her disability. Jane Doe denied the dwelling to the tester for the stated reason that they “do

not accept pets”.

            COUNT ONE—DISCRIMINATION ON THE BASIS OF “HANDICAP”

        16. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-15 above.

        17. The Defendant has discriminated in the sale or rental of, and otherwise made

unavailable and denied, a dwelling on the basis of “handicap”. 42 U.S.C. §3604(f)(1).

        18. The Defendant has discriminated in the terms, conditions and privileges of the sale or

rental of a dwelling, and the services and facilities in connection therewith, on the basis of

“handicap”. 42 U.S.C. §3604(f)(2).

        19. The Defendant has refused to make reasonable accommodations in rules, policies,

practices, and services, when such accommodations may be necessary to afford an individual

equal opportunity to use and enjoy a dwelling. 42 U.S.C. §3604(f)(3)(B).

        20. The conduct described above is willful and intentional, and exhibits a reckless

disregard for civil rights.



VERIFIED COMPLAINT AND                        5
DEMAND FOR JURY TRIAL                                                                      KEN NAGY
                                                                                         Attorney at Law
                                                                                         Lewiston, Idaho
          Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 6 of 21




               COUNT TWO—DISCRIMINATORY NOTICE OR STATEMENT

        21. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-20 above.

        22. The Defendant has made, print or published a notice or statement with respect to the

sale or rental of a dwelling that indicates a preference, limitation and discrimination on the basis

of “handicap”. 42 U.S.C. §3604(c).

        23. The conduct described above is willful and intentional, and exhibits a reckless

disregard for the civil rights.

            COUNT THREE—INTERFERENCE, COERCION OR INTIMIDATION

        24. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-23 above.

        25. The Defendant has engaged in coercion, intimidation or interference in the exercise

or enjoyment of rights granted by 42 U.S.C. §§3603 and 3604.

        26. The conduct described above is willful and intentional, and exhibits a reckless

disregard for the civil rights.

                                            DAMAGES

        27. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-26 above.

        28. As the result of the actions and conduct of the Defendant, as described above, the

Plaintiff has suffered significant and irreparable loss and injury.

        29. The Plaintiff is an “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and is an

intended beneficiary of the protections and requirements of the statutes, laws and regulations

referenced above.

VERIFIED COMPLAINT AND                        6
DEMAND FOR JURY TRIAL                                                                     KEN NAGY
                                                                                        Attorney at Law
                                                                                        Lewiston, Idaho
           Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 7 of 21




       30. The Plaintiff has suffered actual damages as a result of its out-of-pocket expenses

and past diversion of its resources, as described above and in the attached “Appendix A”, in the

amount of $9,289.52, which continue to accrue.

       31. The Plaintiff has suffered actual damages as a result of the necessary future diversion

of its resources, as described above and in the attached “Appendix A”, in the amount of

$7,500.00.

       32. The Plaintiff has suffered actual damages as a result of lost economic opportunity, as

described above and in the attached “Appendix A”, in the amount of $1,000.00.

       33. The Plaintiff has suffered actual damages as a result of the frustration of its mission,

as described above and in the attached “Appendix A”, in the amount of $10,289.52.

       34. In addition to the injuries suffered by the Plaintiff, the Defendant has also caused

significant and irreparable loss and injury to a number of as-of-yet unidentified persons.

       35. Said as-of-yet unidentified victims are “aggrieved person[s]”, as defined in 42 U.S.C.

§3601(i), and are intended beneficiaries of the protections and requirements of the statutes, laws

and regulations referenced above.

       36. All victims of the Defendant’s actions and conduct should be identified and

compensated through a Victims’ Compensation Fund.

       37. A Victims’ Compensation Fund should be established in an amount to be determined

at trial in order to compensate as-of-yet unidentified victims of the Defendant’s discriminatory

conduct, as described in the attached “Appendix B”, from which such victims should be

compensated.

       38. Said Victims’ Compensation Fund should be established and administered as

follows:

VERIFIED COMPLAINT AND                       7
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       Attorney at Law
                                                                                       Lewiston, Idaho
      Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 8 of 21




       a. The Plaintiff shall be assigned the task of managing and administering the

          Victims’ Compensation Fund. The Plaintiff shall be compensated for all time

          spent administering said Fund at the rate of $45.88 per hour. The Plaintiff shall

          keep detailed records of all tasks engaged in and shall submit copies of said

          records to the Court and the Defendant on a monthly basis.

       b. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Defendant shall deposit in an interest-bearing escrow

          account the total sum as determined by applying the calculation set forth in the

          attached Appendix B.

       c. Any interest accruing to such Victims’ Compensation Fund shall become a part of

          the fund and be utilized as set forth herein.

       d. Within fifteen (15) days after the Defendant deposit funds in the Victims’

          Compensation Fund, the Plaintiff shall publish a Notice to Potential Victims of

          Housing Discrimination (hereinafter “Notice”) in at least five daily newspapers

          serving the main population centers of the State of Idaho informing readers of the

          availability of compensatory funds. The form and content of the Notice shall be

          approved by the Court at the time of the entry of the Court’s order establishing the

          Victims’ Compensation Fund. The Notice shall be no smaller than three columns

          by six inches and shall be published on three occasions in each newspaper. The

          publication dates shall be separated from one another by at least 21 days, and at

          least two of the publication dates shall be a Sunday. The Plaintiff shall send a

          copy of the Notice prior to each and every publication date to each of the

          following organizations: (1) Living Independent Network Corp. (LINC), 2500

VERIFIED COMPLAINT AND                  8
DEMAND FOR JURY TRIAL                                                               KEN NAGY
                                                                                  Attorney at Law
                                                                                  Lewiston, Idaho
      Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 9 of 21




          Kootenai Street, Boise, Idaho 83705; (2) Co-Ad, Inc., 4477 Emerald Street, Suite

          B-100, Boise, Idaho 83706; Disability Action Center, 124 East Third Street,

          Moscow, Idaho 83843; and (4) Living Independently for Everyone (LIFE), P.O.

          Box 4185, 640 Pershing Avenue, Suite 7, Pocatello, Idaho 83201.

       e. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Plaintiff shall send by first-class mail, postage prepaid, a

          copy of the Notice to each tenant who currently resides or who resided at any time

          at the subject property.

       f. Nothing in this section shall preclude the Plaintiff from making its own additional

          efforts at its own expense to locate and provide notice to potentially aggrieved

          persons.

       g. Allegedly aggrieved persons shall have one hundred-twenty (120) days from the

          date of the entry of an order by this Court creating a Victims’ Compensation Fund

          to contact the Plaintiff in response to the Notice. The Plaintiff shall investigate

          the claims of allegedly aggrieved persons and, within one hundred-eighty (180)

          days from the entry of an order by this Court creating a Victims’ Compensation

          Fund, shall make a preliminary determination of which persons are aggrieved and

          an appropriate amount of damages that should be paid to each such persons. The

          Plaintiff will inform the Defendant in writing of its preliminary determinations,

          together with a copy of a sworn declaration from each aggrieved person setting

          forth the factual basis of the claim. The Defendant shall have fourteen (14) days

          to review the declaration and to provide to the Plaintiff any documents or

          information that it believes may refute the claim.

VERIFIED COMPLAINT AND                  9
DEMAND FOR JURY TRIAL                                                                KEN NAGY
                                                                                   Attorney at Law
                                                                                   Lewiston, Idaho
      Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 10 of 21




       h. After receiving the Defendant’s refutation, if any, the Plaintiff shall submit its

          final recommendations to the Court for approval, together with a copy of the

          declarations and any additional information submitted by the Defendant. When

          the Court issues an order approving or changing the Plaintiff’s proposed

          distribution of funds for aggrieved persons, the Defendants shall, within ten (10)

          days of the Court’s order, deliver to the Plaintiff checks payable to the aggrieved

          persons in the amounts approved by the Court. In no event shall the aggregate of

          all such checks exceed the sum of the Victims’ Compensation Fund, including

          accrued interest and after deducting compensation to the Plaintiff as described

          above. No aggrieved persons shall be paid until he or she has executed and

          delivered to counsel for the Plaintiff a signed and notarized statement releasing

          the Defendant from all claims related to the subject property.

       i. In the event that less than the total amount in the fund including interest is

          distributed to aggrieved persons, the remaining funds shall be submitted to an

          education fund to be drawn upon by the Plaintiff and other non-profit

          organizations for purposes of educating housing consumers and providers on the

          requirements of the Fair Housing Act. Said education fund shall be administered

          by the Idaho Housing and Finance Association.

       j. The Defendant shall permit the Plaintiff, upon reasonable notice, to review any

          records that may facilitate its determinations regarding the claims of allegedly

          aggrieved persons.




VERIFIED COMPLAINT AND                  10
DEMAND FOR JURY TRIAL                                                                 KEN NAGY
                                                                                    Attorney at Law
                                                                                    Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 11 of 21




       39. The Court should award to the Plaintiff and against the Defendant punitive damages

due to the intentional, willful and reckless nature of the Defendant’s conduct in the amount of

$10,000.00.

       40. The Court should enjoin the Defendant, its officers, employees, agents, successors,

and all other persons in active concert or participation with said Defendant, from failing or

refusing to comply with all requirements of the FHA and its implementing regulations.

       41. The Court should award to the Plaintiff and against the Defendant reasonable

attorney’s fees and costs incurred in this action, as provided for by statute and court rule.

       42. The Defendant should be held jointly and severally liable for any and all damages,

including an award of attorney’s fees and costs, awarded in this proceeding in the event that any

other individuals or entities are found to be liable to the Plaintiff in this proceeding.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff Intermountain Fair Housing Council prays that the Court

enter judgment against the Defendant as follows:

       A. That the Court find and declare that the actions of the Defendant constitute violations

of the Fair Housing Act;

       B. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for its out-of-pocket expenses and past diversion of resources in the amount of

$9,289.52, which continue to accrue;

       C. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for the necessary future diversion of the Plaintiff’s resources in the amount of

$7,500.00;



VERIFIED COMPLAINT AND                        11
DEMAND FOR JURY TRIAL                                                                         KEN NAGY
                                                                                            Attorney at Law
                                                                                            Lewiston, Idaho
           Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 12 of 21




        D. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for the Plaintiff’s lost economic opportunity in the amount of $1,000.00;

        E. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for the frustration of the Plaintiff’s mission in the amount of $10,289.52;

        F. That the Court enter an order establishing a Victims’ Compensation Fund in an

amount to be determined at trial and by applying the calculation set forth in the attached

Appendix B, to be administered according to the terms set forth in Paragraph 38 above;

        G. That the Court award to the Plaintiff and against the Defendant punitive damages due

to the intentional, willful and reckless nature of the Defendant’s conduct in the amount of

$10,000.00;

        H. That the Court enjoin the Defendant, its officers, employees, agents, successors, and

all other persons in active concert or participation with said Defendant, from failing or refusing

to comply with all requirements of the FHA and its implementing regulations;

        I. That the Court award to the Plaintiff and against the Defendant reasonable attorney’s

fees and costs incurred in this action;

        J. That the Defendant be held jointly and severally liable for any and all damages,

including an award of attorneys fees and costs, awarded in this proceeding in the event that any

other individuals or entities are found to be liable to the Plaintiff in this proceeding; and

        K. That the Court order any further and additional relief as the interests of justice may

require.

                                          JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiff demands a

trial by jury on all issues.

VERIFIED COMPLAINT AND                        12
DEMAND FOR JURY TRIAL                                                                       KEN NAGY
                                                                                          Attorney at Law
                                                                                          Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 13 of 21




       DATED this _______         March
                   24th day of ___________________________, 2010.



                                                             /s/
                                             __________________________________________
                                             KEN NAGY
                                             ATTORNEY FOR PLAINTIFF



       RICHARD MABBUTT, being first duly sworn on his oath, deposes and says:

        I am the Executive Director of the Intermountain Fair Housing Council, the Plaintiff
herein, that I have read the foregoing document, know well the contents thereof, and that the
facts therein stated are true to the best of my knowledge and belief.


                                                              /s/
                                             __________________________________________
                                             RICHARD MABBUTT


STATE OF I D A H O    )
                      : ss
County of ___________ )

                I, __________________________________________, a Notary Public for said
state, does hereby certify that on the _______ day of ______________________________, 2010,
personally appeared before me RICHARD MABBUTT, Executive Director of the Intermountain
Fair Housing Council, who, being by me first duly sworn, declared that he signed the foregoing
document as such, and that the statements therein contained are true and accurate as he verily
believes.

       SEAL
                                                                /s/
                                             __________________________________________
                                             Notary Public in and for the State of ____________
                                             Residing at: _______________________________
                                             My commission expires: _____________________




VERIFIED COMPLAINT AND                     13
DEMAND FOR JURY TRIAL                                                                  KEN NAGY
                                                                                     Attorney at Law
                                                                                     Lewiston, Idaho
             Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 14 of 21




                                           APPENDIX A:

                       PLAINTIFF’S MEMORANDUM OF DAMAGES

                      Intermountain Fair Housing Council v. CMCFG, L.L.C.

Plaintiff:              Intermountain Fair Housing Council

Attorney for Plaintiff: Ken Nagy
                        Attorney at Law
                        P.O. Box 164
                        Lewiston, Idaho 83501
                        (208) 301-0126
                        Fax: (509) 758-9820
                        E-mail: knagy@lewiston.com

Defendant:              CMCFG, L.L.C.

Date Prepared:          March 17, 2010


        The Plaintiff has identified four categories of damages that it has suffered as the result of

the Defendant’s failure to comply with the FHA. These categories are: (1) Past Diversion of

Resources; (2) Future Diversion of Resources; (3) Lost Economic Opportunity; and (4)

Frustration of Mission. Each of these categories of damages have been recognized and awarded

by various courts to organizational plaintiffs in previous fair housing cases. 1


        1
         See, Southern Cal. Housing Rights Center v. Krug, 564 F.Supp.2d 1138 (Cent. Dist. Cal.
2007) (fair housing organization awarded $6,590.80 for diversion of resources and $29,065.32
for frustration of mission), Fair Housing of Marin v. Combs, 285 F.3d 899 (9th Cir. 2002) (fair
housing organization awarded $14,217.00 for the diversion of resources); HUD v. Perland, Fair
Housing-Fair Lending Rptr. ¶25,136 (HUD ALJ 1998) (fair housing organization awarded
$4,516 for the diversion of resources and $1,400 for the costs of future monitoring of the
defendants); Ragin v. Harry Macklowe Real Estate Co., 801 F.Supp. 1213, aff’d in pertinent
part, 908 F.3d 898 (2nd Cir. 1993) (fair housing organization awarded $20,000 for the diversion
of resources); HUD v. Jancik, Fair Housing-Fair Lending Rptr. ¶25,058 (HUD ALJ 1993) (fair
housing organization awarded $13,386 for the diversion of past and future resources and $9,000
for the financial opportunity lost as a result of the investigation and litigation of the case); City of
Chicago v. Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086 (7th Cir. 1992) (fair
housing organization awarded $16,500 for out-of-pocket expenses and costs of future monitoring
and training); Saunders v. General Services Corp., 659 F.Supp. 1042 (E.D. Va. 1987) (fair
VERIFIED COMPLAINT AND                         14
DEMAND FOR JURY TRIAL                                                                        KEN NAGY
                                                                                           Attorney at Law
                                                                                           Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 15 of 21




       The following represents an itemization of the Plaintiff’s damages:

       1. Out-of-Pocket Expenses and Past Diversion of Resources

       The Plaintiff has incurred significant pre-litigation expenses as a result of the Defendant’s

   discriminatory actions, which are constituted by its out-of-pocket expenses and its past

   diversion of resources. The Plaintiff has sponsored training workshops in the Defendant’s

   geographic area, and has engaged in site monitoring, investigation, complaint preparation,

   counseling and other activities with regards to this matter. As a result of these activities, it

   has incurred expenses as follows:

       a. Investigation and Counseling:                                         $769.76

       b. Education and advertising:                                           $5,500.00

       c. Cost of Deferred Actions:                                            $3,019.76

                                       Total Past Diversion of Resources:      $9,289.52
       Further litigation of these matters will result in an increase in the Plaintiff’s diversion of

resources, as well as other damages.

       2. Future Diversion of Resources

       The Plaintiff has an affirmative duty to ensure the Defendant’s ongoing compliance with

the FHA, with regards to both the subject property as well as any future developments in which

the Defendant may participate. Such monitoring activities include site visits, training of

Defendant and its employees and agents, counseling of victims, and testing.




housing organization awarded $2,300 for the diversion of resources and $10,000 for the
frustration of its equal housing mission).

VERIFIED COMPLAINT AND                       15
DEMAND FOR JURY TRIAL                                                                        KEN NAGY
                                                                                           Attorney at Law
                                                                                           Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 16 of 21




       The Plaintiff expects to incur the following expenses as a result of the current violations:

       a. Advertising/publications:                                          $3,000.00

       b. Education/outreach to community:                                   $1,500.00

       c. Testing/compliance:                                                $3,000.00

                               Total Future Diversion of Resources:          $7,500.00

       3. Lost Economic Opportunity

       Vigorous investigation and enforcement of fair housing complaints, including the

property at issue herein, has caused the Plaintiff to divert limited resources and manpower away

from grant-writing activities. The Plaintiff could reasonably expect to have obtained funding to

sponsor fair housing training events in the amount of $1,000.00 if it had not been so diverted due

to the Defendant’s actions

       a. Loss of Funding:                                                   $1,000.00

       4. Frustration of Mission

       The investigation of the subject of this complaint, the counseling and training provided to

the community, and the preparation of the administrative complaint have caused the Plaintiff to

divert significant resources toward this proceeding and has undermined the work of furthering

fair housing in the state of Idaho.

       As a direct result of the Defendant’s discriminatory actions, the Plaintiff’s mission of

furthering fair housing has been significantly frustrated, and the Plaintiff has had to devote, and

will continue to devote, additional resources in order to counteract the past and ongoing effects

of this discrimination.

       Furthermore, the property at issue in this proceeding has constituted a formidable barrier

to non-discriminatory housing, thereby undermining the mission of the Plaintiff in guaranteeing

VERIFIED COMPLAINT AND                       16
DEMAND FOR JURY TRIAL                                                                      KEN NAGY
                                                                                         Attorney at Law
                                                                                         Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 17 of 21




fair housing to all residents of the state. The Plaintiff has determined that it will be necessary to

educate housing consumers regarding fair housing requirements in order to counteract the effects

of the Defendant’s failure to comply with the FHA.

       The Plaintiff measures the damage to its frustration as the total monetary damages that

the Defendants’ actions have cost to correct, including lost funding opportunities.

       a. Frustration of Mission                                              $10,289.52

                                       TOTAL DAMAGES

       The Council calculates its total damages in this proceeding as follows:

       1. Out-of Pocket Expenses and Past Diversion of Resources:             $9,289.52

       2. Future Diversion of Resources:                                      $7,500.00

       3. Lost Economic Opportunity:                                          $1,000.00

       4. Frustration of Mission:                                             $10,289.52

                                                       Total Damages:        $28,079.04




VERIFIED COMPLAINT AND                        17
DEMAND FOR JURY TRIAL                                                                       KEN NAGY
                                                                                          Attorney at Law
                                                                                          Lewiston, Idaho
             Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 18 of 21




                                         APPENDIX B:

                  CALCULATION OF VICTIMS’ COMPENSATION FUND

                     Intermountain Fair Housing Council v. CMCFG, L.L.C.

Plaintiff:             Intermountain Fair Housing Council

Attorney for Plaintiff: Ken Nagy
                        Attorney at Law
                        P.O. Box 164
                        Lewiston, Idaho 83501
                        (208) 301-0126
                        Fax: (509) 758-9820
                        E-mail: knagy@lewiston.com

Defendants:            CMCFG, L.L.C.

Date Prepared:         March 17, 2010


                                      I. INTRODUCTION

        In addition to the damages incurred by the Plaintiff, a number identified and of as-of-yet

unidentified victims have also suffered damages as the result of the Defendant’s discriminatory

actions. In furtherance of the Plaintiff mission, a Victims’ Compensation Fund should be created

in order to identify and obtain adequate compensation for such victims.

        The Federal District Court for the District of Idaho has previously ordered the

establishment of a Victims’ Compensation Fund in actions brought pursuant to the Fair Housing

Act. See, United States of America and Intermountain Fair Housing Council v. Stealth

Investment, LLC, et al., Case No. 4:07-cv-500 (Consent Decree entered May 29, 2008, Doc. 21)

(establishing Settlement Fund to compensate unidentified victims in the amount of $12,500);

United States of America v. Thomas Development Co., et al., Case No. 3:02-cv-00068 (Consent

Order entered March 11, 2005, Doc. 85) (establishing Settlement Fund to compensate

unidentified victims in the amount of $100,000.00).
VERIFIED COMPLAINT AND                     18
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       Attorney at Law
                                                                                       Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 19 of 21




       Said orders, however, do not contain a description of how the amount of such a fund was

calculated. The Victims’ Compensation Fund that should be ordered herein should be calculated

according to the underlying principles and using the applicable figures set forth below.

       1. Underlying Principles

       A. The number of units that exist at the subject property that are required to comply with

the requirements of the Fair Housing Act should be determined.

       B. The number of months that the property has been subject to the requirements of the

Fair Housing Act should be determined.

       C. It can reasonably be expected that, on average, at least one applicant for rental

housing of the Defendant encountered discrimination for each available unit managed by the

Defendant each year.

       D. The amount of damages awarded to victims of disability discrimination in violation of

the Fair Housing Act has frequently been $10,000.00.

       E. The Plaintiff is the organization best equipped and situated to administer the fund.

       F. The Plaintiff should be compensated at its operational rate of $45.88 per hour in the

administration of the fund.

       G. The number of hours that it will take to administer the fund and complete

compensation of victims can reasonably be expected to be twelve hours per identified victim.

       H. Administration of the fund will result in the incursion of out-of-pocket expenses, such

as advertising and travel costs, in the amount of $1,000.00 per identified victim.

       2. Applicable Figures

       The Victims’ Compensation Fund should be calculated as follows:



VERIFIED COMPLAINT AND                      19
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      Attorney at Law
                                                                                      Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 20 of 21




       a. Step One. The amount of funds that can reasonably be expected to be necessary to

compensate identified victims should be calculated as follows: (the total number of units

managed by the Defendant) times (the total number of months that the Defendant has managed

housing subject to the FHA) divided by twelve (to determine the number of prospective renters

who have encountered discrimination at the subject property) times $10,000.00.

       b. Step Two. The amount of funds that can reasonably be expected to be necessary

incurred by the fund administrator for work performed in administering the fund should be

calculated as follows: (the total number of units managed by the Defendant) times (the total

number of months that the Defendant has managed housing subject to the FHA) divided by

twelve (to determine the number of prospective renters who have encountered discrimination at

the subject property) times twelve (hours necessary to administer fund per victim) times $45.88.

       c. Step Three. The amount of funds that can reasonably be expected to be necessarily

incurred by the fund administrator for out-of-pocket expenses in administering the fund should

be calculated as follows: (the total number of units managed by the Defendant) times (the total

number of months that the Defendant has managed housing subject to the FHA) divided by

twelve (to determine the number of prospective renters who have encountered discrimination at

the subject property) times $1,000.00.

       d. Step Four. The total amount of the Victims’ Compensation Fund is the amount

determined by adding the results of Step One, Step Two and Step Three.

       3. Calculation of Victims’ Compensation Fund

       Applying the underlying principles, as described above, and the applicable figures, as set

forth above, the victims’ compensation fund should be established in an amount to be determined



VERIFIED COMPLAINT AND                     20
DEMAND FOR JURY TRIAL                                                                  KEN NAGY
                                                                                     Attorney at Law
                                                                                     Lewiston, Idaho
         Case 1:10-cv-00161-EJL Document 1 Filed 03/26/10 Page 21 of 21




after all applicable figures are acquired from the Defendant through litigation in order to

compensate identified and as-of-yet unidentified victims.




VERIFIED COMPLAINT AND                       21
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       Attorney at Law
                                                                                       Lewiston, Idaho
